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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
===================================
DORIAN COOPER
and LAMAR BRAZZLE                                        NOTICE OF REMOVAL

                               Plaintiffs,

vs.

CITY OF BUFFALO, CITY OF BUFFALO
POLICE OFFICER AHMED ABDO; CITY OF
BUFFALO POLICE OFFICER JOSEPH MELI;
CITY OF BUFFALO POLICE OFFICER VINCENT JUDGE;

CITY OF BUFFALO POLICE OFFICER COURTNEY TRIPP;

                      Defendants.
===================================

TO THE CLERK OF THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK:

       PLEASE TAKE NOTICE, that pursuant to 28 U.S.C. §§1441 and 1446,

Defendants, above-named, by their attorney, Cavette A. Chambers, Corporation

Counsel, Robert E. Quinn, of counsel, hereby remove to this Court the civil action

filed in New York State Supreme Court, Erie County, bearing Index Number

805108/205. In support of this notice, defendants state that:

       1.    Plaintiff filed a summons and complaint against the defendants in

state court on March 23, 2025. Upon information and belief, the defendants were

served with the pleading on or about April 3, 2025.

       2.    An index identifying each document filed or served in the state court

action in chronological order is attached hereto at page 3. Copies of these

documents are attached hereto as exhibits.

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       3.      This Court has federal question subject matter jurisdiction over this

action pursuant to 28 U.S.C. §1331 because the p               complaint asserts claims

arising under, inter alia, 42 U.S.C. §1983.

       4.      Venue is proper pursuant to 28 U.S.C. §1441(a) as this Court is the

federal district court for the district embracing the place where the state court

action is pending.

               WHEREFORE, defendants file this notice of removal so that the

action now pending in state court is removed to this Court for all further

proceedings.

Dated: March 24, 2025
       Buffalo, New York


                                              CAVETTE A. CHAMBERS, ESQ.
                                              Corporation Counsel
                                              Attorney for Defendants

                                              By: /s/Robert E. Quinn
                                              Deputy Corporation Counsel
                                              City of Buffalo Law Department
                                              65 Niagara Square, 1114 City Hall
                                              Buffalo, New York 14202
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INDEX OF DOCUMENTS FILED OR SERVED IN STATE COURT PRIOR TO
                        REMOVAL

    Exh. A: Plaintiffs Summons and Complaint.

    Exh. B: Affirmations of mailing and service.

    Exh. C:             Answer.




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                     CERTIFICATE OF FILING AND SERVICE

         I hereby certify that promptly after filing the foregoing notice of removal in

this Court, I will file the notice and attachments being filed with this Court on the

New York State Courts Electronic Filing System, which will give notice to plaintiff

and State Court of the removal.


Dated:          May 5, 2025
                Buffalo, New York

                                     /s/Robert E. Quinn
                                     Deputy Corporation Counsel




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